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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


AYMAN FAREH SOLIMAN,
             Plaintiff,
  v.

TERRORIST SCREENING
CENTER,                                 Civil Action No.: 1:24-cv-00634-LLA

             Defendant.




    PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT
  AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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                                   I.      INTRODUCTION

       Plaintiff Ayman Soliman (“Plaintiff” or “Mr. Soliman”) respectfully submits this Motion

for Summary Judgment and asks this Court to grant summary judgment for Mr. Soliman based on

Defendant Terrorist Screening Center’s (“Defendant” or “TSC”) wrongful delay and withholdings

in violation of the Freedom of Information Act (“FOIA”). Defendant TSC qualifies as an agency

under the FOIA’s definition, but failed to meet its obligations under the statute. Defendant TSC’s

complete lack of response to Plaintiff’s FOIA requests leaves no genuine issue of material fact

whether Defendant TSC violated the statute. Therefore, Plaintiff Soliman respectfully requests this

Court grant summary judgment in his favor.

                      II.    FACTS AND PROCEDURAL HISTORY

       Plaintiff Soliman, through counsel, submitted two FOIA requests to Defendant TSC via

U.S. mail. Plaintiff’s Complaint for Declaratory and Injunctive Relief, ECF No. 1 (“Compl.”), at

¶¶ 6, 8. To date, Defendant TSC has not acknowledged or responded to Mr. Soliman’s requests.

Id. ¶ 10. Defendant acknowledges receipt of two requests Mr. Soliman sent to non-party Federal

Bureau of Investigation (“FBI”) but disregards that those requests were separate from the requests

sent directly to Defendant TSC. Answer to Plaintiff’s Complaint, at ¶ 1, ECF No. 7 (“Answer”).

Plaintiff also sent a follow-up letter seeking confirmation of his requests and information about

their processing, but the USPS tracking information shows that the letter was rejected, and Plaintiff

received no response. Compl. ¶¶ 11-13.

       Plaintiff filed his Complaint in this matter on March 5, 2024, naming only the Terrorist

Screening Center as the defendant. ECF No. 1. Defendant filed its answer on April 11, 2024,

ostensibly on behalf of the FBI despite no change in the named parties. ECF No. 7. On April 15,

2024, this Court ordered the parties to meet and confer and file a Joint Status Report. ECF No. 8.

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The parties conferred via email and ultimately filed separate status reports, due solely to

disagreement about the named defendant in this case. Defendant filed its Motion for Summary

Judgment on August 12, 2024. ECF No. 13. Plaintiff now timely files his Cross-Motion for

Summary Judgment.

                             III.    STANDARD OF REVIEW

       A reviewing court “shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56. When parties file cross-motions, courts review each motion separately in the

light most favorable to the non-moving party to determine whether the moving party is entitled to

judgment under the standard from Rule 56. Schuff Steel Co. v. Bosworth Steel Erectors, Inc., Civil

Action No. 18-cv-435 (TSC), 2024 U.S. Dist. LEXIS 29169, at *5 (D.D.C. Feb. 21, 2024). The

moving party bears the initial burden to demonstrate the absence of any genuine issue of material

fact. Id. Material facts are those that can impact the outcome of the case. HIRECounsel DC, LLC

v. Connolly, Civil Action No. 20-3337 (LLA), 2024 U.S. Dist. LEXIS 134835, at *8 (D.D.C. July

31, 2024). A dispute is genuine only where a reasonable fact-finder could find for the non-moving

party. James Madison Project v. CIA, 344 F. Supp. 3d 380, 386 (D.D.C. 2018) (citing Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247 (1986)).

       In FOIA cases, a district court reviews the record de novo. Woods v. Dep’t of Just., 968 F.

Supp. 2d 115, 120 (D.D.C. 2013) (citing 5 U.S.C. § 552(a)(4)(B)). Agencies maintain the burden

to sustain their FOIA responses with affidavits or declarations that “describe the justifications for

nondisclosure with reasonably specific detail.” Citizens for Resp. & Ethics in Wash. v. Dep’t of

Just., Civil Action No. 19-2267 (LLA), 2024 U.S. Dist. LEXIS 148172, at *8 (D.D.C. Aug. 20,

2024). Courts construe all underlying facts and inferences in favor of the FOIA requestor. Prop.



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of People v. Dep’t of Just., 405 F. Supp. 3d 99, 110 (D.D.C. 2019). Courts should also construe

FOIA exemptions narrowly, consistent with FOIA’s presumption in favor of disclosure. Argyle

Sys. v. IRS, No. 21-16, 2022 U.S. Dist. LEXIS 173056, at *6 (D.D.C. Sept. 25, 2022). Finally, if a

court determines an agency improperly withheld records and “issues a written finding that the

circumstances surrounding the withholding raise questions about whether agency personnel acted

arbitrarily or capriciously with respect to the withholding,” a special counsel may investigate and

determine whether the failure warrants any disciplinary action. 5 U.S.C. § 552(a)(4)(F)(i).

                                     IV.    ARGUMENT

A.     Defendant TSC Qualifies as an Agency Under FOIA

       FOIA clearly defines an “agency” subject to its obligations, and Defendant TSC meets that

definition. An “agency” subject to FOIA includes “any executive department, military department,

Government corporation, Government controlled corporation, or any other establishment in the

executive branch of the Government (including the Executive Office of the President), or any

independent regulatory agency.” 5 U.S.C. § 552(f)(1). Congress amended FOIA in 1974 to

specifically expand the definition of agencies subject to FOIA obligations. Elec. Priv. Info. Ctr. v.

Nat’l Sec. Comm’n on A.I., 466 F. Supp. 3d 100, 107 (D.D.C. 2020) (explaining that some

authorities may be an “agency” for the purposes of FOIA, even if not considered an “agency”

under other statutes). Even if technically termed a sub-agency, an entity with substantial

independent authority may still face separate FOIA obligations. Citizens for Resp. & Ethics in

Wash. v. Off. of Admin., 559 F. Supp. 2d 9, 24 (D.D.C. 2008) (holding an entity that exerts only

administrative responsibilities is not subject to FOIA, while an entity with substantive

responsibilities may be subject to FOIA). Courts may analyze the organization’s founding

documents, as well as the responsibilities the organization “actually undertakes.” Id. Many



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agencies that recognize themselves as subject to FOIA also house sub-agencies that also recognize

themselves to be subject to FOIA. 1 Defendant TSC is one of those agencies.

       The president created the Terrorist Screening Center in 2003 via Homeland Security

Presidential Directive-6 (“HSPD-6”). See Overview of the U.S. Government’s Watchlisting

Process and Procedures, at 1-2, Soliman v. Mayorkas, No. 1:22-cv-00079-ABJ (D.D.C. Apr. 18,

2022), ECF No. 13-1 (“Watchlisting Overview”). 2 That creation intended to establish an

organization to consolidate the various watchlists used across the U.S. government, through the

joint effort of multiple existing government agencies. Id. Initially, the TSC had limited operations

and used personnel assigned from different agencies, including the FBI and DHS, to maintain a

24/7 call center that screened individuals “with ties to terrorism.” U.S. DEP’T OF JUST. OFF. OF THE

INSPECTOR GEN. AUDIT DIV., AUDIT REPORT 05-27, REVIEW OF THE TERRORIST SCREENING

CENTER, AT IV (JUNE 2005) (“TSC Audit”). 3 Presently, the TSC maintains permanent staff,

operates the only consolidated watchlist used by federal and state agencies, and possesses the

authority to modify or remove a record (and therefore an individual) from the watchlist.

Watchlisting Overview at 5; see also Letter from Senator Elizabeth Warren et al. to Attorney

General Merrick Garland et al., (“Warren Letter”) at 3 (Dec. 20, 2023), located at

https://www.warren.senate.gov/imo/media/doc/2023.12.20%20Terrorism%20Watchlist%20Lette

r.pdf (expressing concerns about the constitutionality of the TSC). The TSC possesses substantial

independent authority to control the terrorist watchlist sufficient to make it an “establishment of



1
   See generally FOIA Contact Information, DEP’T HOMELAND SEC. (Oct. 4, 2024),
https://www.dhs.gov/foia-contact-information (listing contact information to submit a FOIA
request to the main DHS Privacy Office, as well as other sub-agencies with separate FOIA
obligations).
2
  Attached hereto as Exhibit A.
3
  Excerpts of which are attached hereto as Exhibit B.

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the executive branch” pursuant to FOIA’s definition. 5 U.S.C. § 552(f)(1). Therefore, the TSC is

an agency subject to the obligations and requirements of FOIA.

B.      Defendant TSC Fails to Fulfill its FOIA Obligations

        Despite meeting the definition of an agency subject to the obligations of FOIA, Defendant

TSC failed to meet its statutorily required obligations. The TSC does not promulgate rules

governing the “time, place, fees (if any), and procedures to be followed” to submit a FOIA request

to the TSC. But see 5 U.S.C. § 552(a)(3)(A). It provides no contact information for a FOIA Public

Liaison, as required by the statute. Contrast 5 U.S.C. §§ 552(b)(6)(A)(i), (b)(6)(B)(ii), (j)(1)(H).

It neither communicated an intent to respond to Plaintiff Soliman’s FOIA request nor sought an

extension of time to process that request. Compl. ¶¶ 18-19; contrast 5 U.S.C. §§ 552(a)(6)(A)(i),

(a)(6)(B)(ii). Defendant denies it qualifies as an agency subject to FOIA, but merely its own self-

serving conclusion does not negate that it operates in all ways as an agency fitting the definition

described above. Answer ¶ 2. No genuine issue of material fact remains that the TSC is an agency

subject to the requirements of FOIA and that it therefore failed to meet its obligations as set forth

in the statute.

C.      Defendant TSC Unreasonably Delayed its Response to Plaintiff’s FOIA Requests

        To date, Defendant TSC has provided no response to Plaintiff’s two FOIA requests, sent

in October 2021 and July 2022. This unjustifiable delay violates FOIA’s requirement that an

agency respond to a reasonable request for agency records within twenty working days. 5 U.S.C.

§ 552(a)(6)(A). In “unusual circumstances” and upon written notice to the requester, the agency

may take an additional ten working days to respond to the request. Id. § 552(a)(6)(B). If the agency

cannot process the request within that extended thirty-day time frame, the agency must offer the

requester the opportunity to limit the scope of its request or arrange for an alternative processing

time frame. Id. § 552(a)(6)(B)(ii). Defendant TSC did none of the above. Plaintiff Soliman

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received no communication from Defendant TSC about his requests, or his follow-up

communication. Compl. ¶¶ 10, 12. No genuine issue of material fact exists that Defendant TSC

wrongfully delayed its response to Plaintiff, in violation of FOIA’s requirements.

D.     Defendant TSC Wrongfully Withheld Records from Plaintiff

       Defendant TSC provided Plaintiff no records responsive to his requests. FOIA authorizes

the withholding of otherwise responsive records only under a limited set of circumstances. 5

U.S.C. § 552(b)(1)-(9) (listing the exemptions to FOIA production). When an agency withholds

responsive records, it must identify the existence of each record and provide “specific, non-

conclusory justifications for withholding that information.” Knight First Amend. Inst. at Columbia

Univ. v. CIA, 11 F.4th 810, 813 (D.C. Cir. 2021). An agency may refuse to confirm or deny the

existence of certain responsive information where “‘the fact of the existence or nonexistence of

agency records’ itself falls within a FOIA exemption.” Id. (quoting Wolf v. CIA, 473 F.3d 370, 374

(D.C. Cir. 2007)). In either situation, the agency must provide a written response to the requester,

explaining its determination and the reasons supporting that determination as well as the

requester’s appeal and other rights. 5 U.S.C. § 552(a)(6)(A)(i). By failing to respond to Plaintiff’s

requests at all, Defendant TSC necessarily fails to justify any withholding of otherwise responsive

records. No genuine issue of material fact remains that Defendant TSC violated FOIA by

wrongfully withholding responsive records.

E.     The FBI’s Response Does Not Fulfill Defendant TSC’s FOIA Obligations

       Defendant TSC’s Answer only addresses FOIA request that Plaintiff Soliman sent to the

FBI, not the two requests he sent to the TSC. This response does not suffice to address Plaintiff’s

requests to Defendant TSC. Plaintiff acknowledges he sent a separate FOIA request to the FBI,

but that request is not the subject of this lawsuit. Upon this Court’s directive that the parties meet

and confer and file a Joint Status Report, Defendant TSC informed Plaintiff’s counsel that

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Defendant TSC considered the FBI’s standard search and response sufficient to meet its

obligations. ECF No. 9 at 2. Plaintiff’s counsel requested Defendant TSC produce, at a minimum,

a declaration delineating what searches the FBI conducted pursuant to Plaintiff’s request to the

FBI and what searches it conducted in response to Plaintiff’s requests to the TSC; Defendant TSC

(and the FBI) declined to do so. Id. Without at least that declaration, neither Plaintiff Soliman nor

this Court can evaluate the adequacy of the FBI as it might pertain to the requests Plaintiff Soliman

sent to the TSC. Plaintiff Soliman therefore respectfully requests this Court grant summary

judgment to him in full.

                                    V.     CONCLUSION

       Plaintiff Soliman establishes his entitlement to both declaratory and injunctive relief based

on Defendant TSC’s failure to meet its obligations to him as required by FOIA. Defendant TSC

failed to respond to Plaintiff’s requests completely, for more than two years. Plaintiff Soliman

therefore seeks a declaratory ruling from this Court that Defendant TSC violated the clear language

of FOIA. Plaintiff Soliman also seeks injunctive relief from this Court, by way of an order that

Defendant TSC respond in full—and directly—to Plaintiff Soliman’s requests. Finally, Plaintiff

Soliman requests that this Court rule that Defendant TSC “acted arbitrarily and capriciously with

respect to the withholding.” 5 U.S.C. § 552(a)(4)(F)(i). Plaintiff Soliman respectfully asks this

Court to grant his Motion for Summary Judgment in full and provide him the relief he seeks, for

the reasons stated above.




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Respectfully submitted this 11th day of October, 2024.




                                                                           /s/ Christina A. Jump
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 11th day of October 2024, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.



                                                                           /s/ Christina A. Jump
                                                                               Christina A. Jump
                                                                            Attorney for Plaintiff




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